   Case 16-13291-MBK            Doc 172-1 Filed 06/12/19 Entered 06/12/19 15:06:16                       Desc Ntc
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                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                         Case No.: 16−13291−MBK
                                         Chapter: 13
                                         Judge: Michael B. Kaplan

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Michael Joseph Agolia                                    Lisa Rossi
   315 Maria Drive                                          5 Everette Court
   Toms River, NJ 08753                                     Caldwell, NJ 07006
Social Security No.:
   xxx−xx−1459                                              xxx−xx−0979
Employer's Tax I.D. No.:


                                    NOTICE OF ORDER DISMISSING CASE



       NOTICE IS HEREBY GIVEN that an Order Dismissing the above captioned Case
as to the:
       Debtor and Joint Debtor was entered on June 12, 2019.

       Any discharge which was granted as to the above mentioned debtor(s) in this case is vacated. All outstanding
fees to the Court incurred by the dismissed debtor(s) are due and owing and must be paid within five (5) days from
the date of this Order.




Dated: June 12, 2019
JAN: wir

                                                                   Jeanne Naughton
                                                                   Clerk
